AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                     Middle District of Tennessee


                                                                 )
                DANIEL GENE BOZE, et al.
                                                                 )
                             Plaintiff
                                                                 )
                         v.                                      )       Civil Action No. 2:23-cv-0068
     United States Department of Agriculture, Risk               )
           Management Agency, and FCIC                           )
                                                                 )
                            Defendant


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Risk Management Agency
                                   ATTN: Director of Administrative Review Division
                                   1400 Independence Avenue SW, STOP 0806
                                   Washington, DC 20250-0806




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Wendell L. Hoskins II, Esquire
                                 Law Office of Wendell L. Hoskins II
                                 Post Office Box 1115
                                 404 Ward Avenue
                                 Caruthersville, Missouri 63830


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:         11/27/2023
                                                                                     Signature of Clerk or Deputy Clerk




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 Civil Action No.

                                                       PROOF OF SERVICE
                      (This section sltould not be filed with the court unless required by Fed. R. Civ. P. 4 (/))

           This summons for (name of individual and title, if any)
was received by me on (date)

          □   1 personally served the summons on the individual at (place)
                                                                                   on (date)                         ; or

          □    I left the summons at the individual's residence or usual place of abode with (name)
                                                                                                                - - - - - -- - - -
                                                               , a person of suitable age and discretion who resides there,
         - - -- - - - - -- - - - - - - -
          on (date)                                , and mailed a copy to the individual's last known address; or

          □   I served the summons on (name of individual)                                                                    , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                                   on (date)                         ; or

          □   I returned the summons unexecuted because                                                                            ; or

          I'.] Other (specify):




          My fees are$                             for travel and $                 for services, for a total of$           0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                         Server's signature



                                                                                       Printed name and title




                                                                                          Server's address

Additional infonnation regarding attempted service, etc:




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                     Middle District of Tennessee


                DANIEL GENE BOZE, et al.
                                                                 )
                                                                 )
                             Plaintiff
                                                                 )
                                V.                               )       Civil Action No. 2:23-cv-0068
     United States Department of Agriculture, Risk               )
           Management Agency, and FCIC                           )
                            Defendant
                                                                 )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Henry C. Leventis, USA
                                   Middle District of Tennessee
                                   719 Church Street, Suite 3300
                                   Nashville, Tennessee 37203




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Wendell L. Hoskins 11, Esquire
                                 Law Office of Wendell L. Hoskins II
                                 Post Office Box 1115
                                 404 Ward Avenue
                                 Caruthersville, Missouri 63830


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                           CLERK OF COURT


Date:           11/27/2023
                                                                                     Signature of Clerk or Deputy Clerk




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 Civil Action No.

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                                                                                   on (date)                        ; or

          0 I left the summons at the individual's residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
         -----------------
         on (date)    , and mailed a copy to the individual's last known address; or

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Date:
                                                                                         Server's signature



                                                                                       Printed name and title




                                                                                          Server's address

Additional infonnation regarding attempted service, etc:




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Middle District of Tennessee


                                                                   )
                DANIEL GENE BOZE, et al.
                                                                   )
                             Plaintiff
                                                                   )
                                V.                                 )       Civil Action No. 2:23-cv-0068
     United States Department of Agriculture, Risk                 )
           Management Agency, and FCIC                             )
                            Defendant
                                                                   )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
                                         Attorney General Merrick B. Garland
                                         950 Pennsylvania Avenue Northwest
                                         Washington, D.C. 20530-0001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are: Wendell L. Hoskins 11, Esquire
                                 Law Office of Wendell L. Hoskins II
                                 Post Office Box 1115
                                 404 Ward Avenue
                                 Caruthersville, Missouri 63830


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                                                                               CLERK OF COURT


Date: - - 11/27/2023
          - - - - - -- -                                                               Signature of Clerk or Deputy Clerk




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AO 440 (Rev. 12/09} Summons in a Civil Action (Page 2)

 Civil Action No.

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                                                                                   on (date)   ; or

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         - - - - - -- - - - - - - - - - -
          on (date)                                ' and mailed a copy to the individual's last known address; or

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           designated by law to accept service of process on behalf of (name oforganization)
                                                                                  on (date)                         ; or

          □    I returned the summons unexecuted because                                                                          ; or

          □    Other (specify):




           My fees are$                            for travel and $                 for services, for a total of$          0.00


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Date:
                                                                                         Server's signature


                                                                                       Printed name and title




                                                                                         Server's address

Additional information regarding attempted service, etc:




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